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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Jose Vasquez and Carmen Vasquez JUDGE FALLON

V

Merck & Co., Inc., et al. MAGISTRATE JUDGE KNOWLES

Docket No. 2:05-cv-01092

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ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiffs Jose Vasquez and Carmen Vasquez in the
above-captioned case be and they hereby are dismissed with prejudice with each party to bear his
or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
